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                      IN THE UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT


       STATE OF NEW YORK, et al.,
                    Plaintiffs-Appellees,
                          v.                                          No. 25-1236
       DONALD J. TRUMP, in his official capacity as
       President of the United States, et al.,
                    Defendants-Appellants.



       STATE OF NEW YORK, et al.,
                    Plaintiffs-Appellees,
                          v.                                          No. 25-1413
       DONALD J. TRUMP, in his official capacity as
       President of the United States, et al.,
                    Defendants-Appellants.


                UNOPPOSED MOTION TO CONSOLIDATE APPEALS AND
                        TO REVISE BRIEFING SCHEDULE

            Pursuant to Federal Rules of Appellate Procedure 3(b)(2) and 27, the

      government respectfully moves to consolidate New York v. Trump, No. 25-1236, and

      New York v. Trump, No. 25-1413. The government also requests that a briefing

      schedule be set in the consolidated appeals that allows the government until May 27,

      2025, in which to file its consolidated opening brief. This motion is unopposed.
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            1. This case involves a January 27, 2025, memorandum issued by the Office of

      Management and Budget (OMB) requiring federal agencies to review federal financial

      assistance programs for consistency with the President’s policies. While that review

      was ongoing, agencies were to temporarily pause funding implicated by certain

      Executive Orders to the extent allowed under applicable law. On January 29, 2025,

      OMB rescinded the memorandum.

            In this lawsuit filed by plaintiff States, the district court entered a preliminary

      injunction on March 6, 2025. See Dkt. No. 161. The court enjoined the government

      defendants from “reissuing, adopting, implementing, giving effect to, or reinstating

      under a different name the directives in [the OMB memorandum] with respect to the

      disbursement and transmission of appropriated federal funds to the States under

      awarded grants, executed contracts, or other executed financial obligations.” Id. at 44.

      The court also enjoined the government defendants from “pausing, freezing,

      blocking, canceling, suspending, terminating, or otherwise impeding the disbursement

      of appropriated federal funds to the States under awarded grants, executed contracts,

      or other executed financial obligations based on the OMB [memorandum],” including

      “funding freezes dictated, described, or implied by Executive Orders issued by the

      President before rescission of the OMB [memorandum] or any other materially

      similar order, memorandum, directive, policy, or practice under which the federal

      government imposes or applies a categorical pause or freeze of funding appropriated



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      by Congress.” Id. The government’s appeal of the district court’s preliminary

      injunction is docketed as No. 25-1236.

            2. Plaintiffs moved to enforce the preliminary injunction as to certain funding

      administered by the Federal Emergency Management Agency. The district court

      granted the motion on April 4, 2025. See Dkt. No. 175. The court denied

      reconsideration on April 14, 2025. See Dkt. No. 182. The government’s appeal of the

      district court’s order is docketed as No. 25-1413.

            3. The government respectfully moves to consolidate the two appeals. Both

      appeals arise from the same district court action. The first appeal challenges the

      district court’s preliminary injunction, and the second appeal challenges the district

      court’s order enforcing the preliminary injunction. It would be most efficient for the

      parties and the Court to consolidate the appeals for purposes of appellate review and

      decision. See Fed. R. App. P. 3(b)(2). The government intends to file a single opening

      brief addressing the issues in the two appeals. As explained below, under the

      proposed consolidated briefing schedule, the government would obtain only a short

      extension of the briefing deadline established in the first appeal, No. 25-1236.

            4. Under the briefing schedule in No. 25-1236, the government’s opening brief

      is currently due on May 13, 2025. The government has not previously requested an

      extension. The government respectfully requests that the deadline for the

      consolidated opening brief be set for May 27, 2025, 14 days later than the current



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      deadline. The requested extension is necessary in light of the proposed consolidation

      of the two appeals and government counsel’s other appellate deadlines.

             Brian J. Springer and Sean R. Janda have principal responsibility for preparing

      the government’s brief in this case. Mr. Springer also has principal responsibility for

      the following matters: Florida Gas Transmission Co. v. Department of Transportation,

      No. 24-60420 (5th Cir.) (response brief filed April 28); Jazz Pharmaceuticals, Inc. v.

      Kennedy, No. 24-5262 (D.C. Cir.) (oral argument scheduled May 5); Rise for Animals v.

      Washington, No. 24-1458 (4th Cir.) (oral argument scheduled May 7); Global Health

      Council v. Trump, Nos. 25-5097, -5098 (D.C. Cir.) (opening brief due May 9 under

      proposed expedited schedule); Mahoney v. U.S. Capitol Police Board, No. 24-5207 (D.C.

      Cir.) (reply brief due May 27, as extended). Mr. Janda also has principal responsibility

      for the following matters: Secretary of Labor v. KC Transport, Inc., No. 22-1071 (D.C.

      Cir.) (supplemental brief filed April 29); Arizona Alliance for Retired Americans v. Mayes,

      No. 22-16490 (9th Cir.) (en banc) (proposed amicus brief lodged April 29); Sweet v.

      Department of Education, No. 23-15049 (9th Cir.) (response to petition for rehearing en

      banc due May 2); Global Health Council v. Trump, Nos. 25-5097, -5098 (D.C. Cir.)

      (opening brief due May 9 under proposed expedited schedule); Kalbers v. Department of

      Justice, Nos. 24-1048, -1477 (9th Cir.) (oral argument scheduled May 16); Roberts v.

      Department of Justice, No. 24-1881 (6th Cir.) (response brief due May 23).

             Daniel Tenny has supervisory responsibility for the government’s brief in this

      case. Mr. Tenny also has supervisory responsibility for the following matters with
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      upcoming deadlines: CoreCivic Inc. v. Murphy, No. 23-2598 (3d Cir.) (oral argument

      scheduled May 1); Palacio v. Food and Drug Administration, No. 24-12446 (11th Cir.)

      (response brief due May 2); Rise for Animals v. Washington, No. 24-1458 (4th Cir.) (oral

      argument scheduled May 7); Massachusetts Fair Housing Center v. U.S. Department of

      Housing and Urban Development, No. 25-1368 (1st Cir.) (response brief due May 6);

      Global Health Council v. Trump, Nos. 25-5097, -5098 (D.C. Cir.) (opening brief due

      May 9 under proposed expedited schedule); Munro v. U.S. Copyright Office, No. 24-5136

      (D.C. Cir.) (response brief due May 14); Kalbers v. Department of Justice, Nos. 24-1048,

      -1477 (9th Cir.) (oral argument scheduled May 16); Joint Sports Claimants v. Library of

      Congress, Nos. 24-1259, -1260 (D.C. Cir.) (response brief due May 27).

             5. Counsel for plaintiffs has authorized us to state that this motion is

      unopposed.



                                             Respectfully submitted,

                                             DANIEL TENNY
                                             SEAN R. JANDA

                                              /s/ Brian J. Springer
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             APRIL 2025
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                            CERTIFICATE OF COMPLIANCE

            This motion complies with the type-volume limit of Federal Rule of Appellate

      Procedure 27(d)(2)(A) because it contains 948 words. This motion also complies with

      the typeface and type-style requirements of Federal Rules of Appellate Procedure

      27(d)(1)(E) and 32(a)(5)-(6) because it was prepared using Microsoft Word 2016 in

      Garamond 14-point font, a proportionally spaced typeface.



                                                      /s/ Brian J. Springer
                                                     Brian J. Springer
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                                CERTIFICATE OF SERVICE

            I hereby certify that on April 30, 2025, I electronically filed the foregoing

      motion with the Clerk of the Court for the United States Court of Appeals for the

      First Circuit by using the appellate CM/ECF system. Participants in the case are

      registered CM/ECF users, and service will be accomplished by the appellate

      CM/ECF system.


                                                        /s/ Brian J. Springer
                                                       Brian J. Springer
